       Case 5:11-cr-40045-JAR          Document 107        Filed 06/05/12     Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                            )
                                                     )
                      Plaintiff,                     )
                                                     )
       v.                                            )      Case No. 11-40045-JAR-1
                                                     )
CARLOS RUIZ-ARREOLA,                                 )
                                                     )
                      Defendant.                     )
                                                     )

                               MEMORANDUM AND ORDER

       Defendant Carlos Ruiz-Arreola is charged in a one-count, multi-defendant Indictment

with conspiracy to distribute methamphetamine in violation of 21 U.S.C. § 846. This matter

currently comes before the Court on Defendant’s Motion to Strike Surplusage from the

Indictment (Doc. 92) and Motion to Compel Disclosure of Informants and Cooperating

Witnesses (Doc. 93). In his first motion, Defendant asks the Court to strike the reference to the

alias “Primo” from the Indictment. In his second motion, he asks the Court to enter an order

directing the Government to reveal the identity and impeachment information for all informants,

witnesses, and co-conspirators statements that will be used against Defendant at trial. The Court

has thoroughly considered the parties’ briefs and the arguments presented at the May 8, 2012

hearing on these motions, and the Court is now prepared to rule. As explained below, the Court

denies Defendant’s motion to strike surplusage but grants his motion to compel disclosure.

I.     Motion to Strike Surplusage

       The Indictment in this case names Defendant as “CARLOS RUIZ-ARREOLA, a/k/a

‘Primo.’” Citing to Federal Rule of Criminal Procedure 7, which states: “Upon the defendant’s
        Case 5:11-cr-40045-JAR                 Document 107            Filed 06/05/12         Page 2 of 5




motion, the court may strike surplusage from the indictment or information,” Defendant moves

to strike the reference to the alias, “a/k/a ‘Primo,’” from the Indictment. Defendant argues that

the alias is prejudicial because it is not used in reference to Defendant exclusively and it is an

unnecessary addition to the Indictment that portrays Defendant as one who used different names

to hide his true identity. The Government explains that this matter involves numerous

intercepted conversations involving Defendant Ruiz-Arreola, and in those conversations,

Defendant used his alias. In addition, other individuals in the case associate Defendant with his

alias. The Government thus argues that the use of the alias “Primo” is necessary to identify

Defendant in connection with the acts charged in the Indictment because many of the recorded

conversations identify Defendant Ruiz-Arreola only by his alias, “Primo.” Additionally, the

Government explains that the use of “Primo” is unavoidable because it is used in many of the

recorded conversations and is not prejudicial because “Primo” does not have any negative

connotations.

         In assessing whether the use of an alias in an indictment is proper, courts often balance

the potential prejudice and the relevancy and frequency of use of the alias.1 The Tenth Circuit

has endorsed the use of an alias in an indictment when “proof of the use of the alias . . . helped

identify [the defendant] as a participant in the conspiracy.”2 The Tenth Circuit has also held that

use of an alias in an indictment is permissible when testimony shows that a defendant used the


         1
          See, e.g., United States v. Candelaria-Silva, 166 F.3d 19, 33 (1st Cir. 1999) (finding no error with district
court allowing an alias in indictment and testimony when the alias was probative in connecting the defendant to the
acts charged); United States v. Delpit, 94 F.3d 1134, 1146 (8th Cir. 1996) (allowing use of a nickname when it could
not be avoided in wiretaps and was necessary to fully identify the defendant); United States v. Black, 88 F.3d 678,
681 (8th Cir. 1996) (holding that references to a nickname does not warrant reversal when the nickname was not
prejudicial and the informant only knew the defendant by that name).
         2
          United States v. Battle, 188 F.3d 519, 1999 WL 596966, at *3 (10th Cir. 1999).

                                                          2
          Case 5:11-cr-40045-JAR               Document 107               Filed 06/05/12   Page 3 of 5




alias.3

          Here, the Government has shown that the use of “Primo” is necessary to connect

Defendant to the acts charged in the Indictment and is unavoidable because of the frequency of

use. Additionally, “Primo”—which the parties have identified as a Spanish term of familiarity

similar to “brother, cousin, buddy, or pal”—does not hold any negative connotations, and

therefore whatever prejudice that may result from use of the alias is minimal. As a result, the

Court finds the use of the alias “Primo” permissible and denies Defendant’s motion to strike it

from the Indictment.

II.       Motion to Compel Disclosure

          In his second motion, Defendant asks the Court for an order directing the Government to

identify all witnesses, informants, and co-conspirators statements and provide any impeachment

evidence that may be relevant to any of these individuals. In the briefs filed before the May 8th

hearing, the parties contested whether the Government needed to disclose these individuals’

identities. At the May 8th hearing, however, it became apparent that the parties’ real dispute

centered on when the Government would disclose the identities of these individuals. The

Government has provided Defendant with numerous statements made by individuals who claim

to have information about the Defendant’s involvement in the charged conduct. To protect the

individuals, the Government redacted their identities from the statements before disclosure.

Defendant, however, argues that he is entitled to know the witnesses’ identities as well as the

nature and extent of their participation in the conspiracy and any promises of leniency,

immunity, sentencing concessions, or other benefits promised in exchange for their testimony.



          3
           United States v. Skolek, 474 F.2d 582, 586 (10th Cir. 1973).

                                                           3
       Case 5:11-cr-40045-JAR           Document 107        Filed 06/05/12       Page 4 of 5




       The Government explained at the May 8th hearing that the redacted statements it has

provided to Defendants are the proffered testimony of individuals who have information about

the drug conspiracy. The Government further explained, however, that it has made the same

discovery to all co-defendants in this case as well as all of the defendants in the related

cases—over seventy defendants total. Thus, not all of these statements are relevant to Defendant

Ruiz-Arreola, nor will all of these individuals testify at Defendant’s trial. The Government

indicated that when trial is imminent, it will provide more complete discovery by identifying

those individuals who made statements relevant to Defendant Ruiz-Arreola and providing

disclosures required under Giglio v. United States4 and Brady v. Maryland.5 But until trial is

imminent, the Government argues, the interest in protecting the individuals who provided

statements outweighs Defendant’s interest in knowing their identities.

       At the May 8th hearing, the Court stated that it would set deadlines for disclosure of the

identities of witnesses and co-conspirators statements, as well as any impeachment evidence

required under Giglio/Brady. Trial is currently set for September 18, 2012. The Court orders

that the Government disclose the identity of witnesses and co-conspirators statements, as well as

any impeachment evidence required under Giglio/Brady at least thirty days before trial. If the

Court continues the trial date, the Court will also continue the disclosure deadline so that it

remains set thirty days before trial.

       IT IS THEREFORE ORDERED BY THE COURT that Defendant’s Motion to Strike

Surplusage (Doc. 92) is DENIED.



       4
        405 U.S. 150 (1972).
       5
        373 U.S. 83 (1963).

                                                  4
       Case 5:11-cr-40045-JAR            Document 107         Filed 06/05/12   Page 5 of 5




        IT IS FURTHER ORDERED that Defendant’s Motion to Compel Disclosure of

Informants and Cooperating Witnesses (Doc. 93) is GRANTED. The Government must provide

Defendant with the identity of witnesses who will testify at trial and any co-conspirators whose

statement will be used at trial, as well as any impeachment evidence concerning those

individuals, at least thirty (30) days before trial.

        IT IS SO ORDERED.



Dated: June 5, 2012
                                                            S/ Julie A. Robinson
                                                           JULIE A. ROBINSON
                                                           UNITED STATES DISTRICT JUDGE




                                                       5
